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                         UNITED STATES BANKRUPTCY COURT
                            MIDDLE DISTRICT OF FLORIDA
                                 ORLANDO DIVISION

 IN RE:                                                    CASE NO.: 6:17-bk-03607-KSJ
                                                           CHAPTER 7
 Dona Lee Harden,

    Debtor.
 _________________________________/

                          DEUTSCHE BANK’S RESPONSE TO
                      CHAPTER 7 TRUSTEE’S MOTION TO SELL
               [Real Property located at 387 Maine Ave E, Longwood, FL 32750]

       COMES NOW, Deutsche Bank National Trust Company, as Trustee, in Trust for the

Registered Holders of Morgan Stanley ABS Capital I Trust 2005-NC2, Mortgage Pass-Through

Certificates, Series 2005-NC2 (“Secured Creditor”), by and through the undersigned counsel, and

files its Response to Chapter 7 Trustee’s Motion to Sell Real Property Free and Clear of Liens

(DE #34) (the “Motion”), and, in support thereof, states as follows:

                                                 FACTS

       1. Debtor filed a voluntary petition for relief under Chapter 13 of the Bankruptcy Code

           on June 1, 2017. The case has since been converted to Chapter 7 as of July 28, 2017.

       2. Secured Creditor holds a first lien on the subject property located at 387 Maine Ave

           E, Longwood, FL 32750, by virtue of mortgage recorded on January 6, 2005 in Book

           5572 at Page 408 of the Public Records of Seminole County, FL. The mortgage is

           secured by a promissory note in the original principal amount of $119,000.00.

       3. As stated in Secured Creditor’s Motion for Relief from Stay (DE #27), the mortgage

           is in default and Secured Creditor obtained a Final Judgment of Foreclosure on April

           13, 2015 in the amount of $150,886.50.
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4. Secured Creditor subsequently purchased the property at a Foreclosure Sale held on

   June 1, 2017. However, such sale had to be vacated due to the Debtor’s instant

   bankruptcy filing on the sale date.

5. Secured Creditor has since obtained an Order Granting its Motion for Relief from

   Stay (DE #30) to reschedule the foreclosure sale.

6. The Trustee has filed a Motion to Sell Real Property Pursuant to 11 U.S.C. § 363(b)

   and (f) and has indicated the subject property will be sold for a purchase price of

   $136,100.00 with Secured Creditor anticipated to receive a total amount of

   $116,751.92 from the sale proceeds.

7. Furthermore, the Trustee is seeking a $7,500.00 carve-out from Secured Creditor for

   the benefit of the unsecured creditors.

8. As of December 30th, 2017, the payoff on the loan is $178,978.63.

                                         ARGUMENT

9. Secured Creditor has not approved a short sale of the property nor a Trustee carve-out

   for the benefit of the unsecured creditors as of the filing of this response.

10. Secured Creditor has already expended a great deal of fees and costs in obtaining a

   foreclosure judgment and sale order, which was subsequently vacated, in addition to

   obtaining relief from the automatic stay to complete its state court foreclosure action

   and objects to entry of an Order compelling it to take less than a full payoff on its

   loan.
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11. Secured Creditor objects to entry of an Order compelling it to accept the terms of the

   proposed sales contract or sets any time line for review of the sales contract, absent its

   standard sale review process and written approval.

12. Secured Creditor does not consent to impairment of its interest without its written

   approval at or before closing and all conditions having been met and requires that any

   proposed sale of the subject property by the Trustee strictly comply with each and

   every term and condition of any short sale approval letter.

13. Secured Creditor will consider any and all purchase offers and will review in good

   faith for approval of any Short Sale options.

14. To the extent that the proposed sale price is for less than Secured Creditor’s claim

   amount and/or any request of the Trustee for a carve-out, the Secured Creditor,

   pursuant to 11 U.S.C. 363(k), reserves the right to credit bid on the Property.

15. Secured Creditor is filing this Response in an abundance of caution, as Secured

   Creditor wants it to be clear that it should not be compelled to participate in a sale of

   the Property absent payment in full of the Secured Creditor’s security interest on the

   Property or receipt of all funds included in any short sale approval and all other

   conditions having been met.

16. Secured Creditor reserves the right to supplement this response at or prior to any

   hearing on this matter.
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       WHEREFORE, Secured Creditor requests that any Order Granting the Trustee’s Motion

be subject to the aforementioned terms and for such other and further relief that this Court deems

just and proper.

                                             ROBERTSON, ANSCHUTZ & SCHNEID, P.L.
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                                             By: /s/ Christopher P. Salamone, Esq.
                                             Christopher P. Salamone, Esquire
                                             Florida Bar Number: 75951
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                                CERTIFICATE OF SERVICE

       I HEREBY CERTIFY that on December 26th, 2017, I electronically filed the foregoing

with the Clerk of Court by using the CM/ECF system, and a true and correct copy has been

served via CM/ECF or United States Mail to the below mailing list.

Debtor
Dona Lee Harden
387 Maine Ave E
Longwood, FL 32750

Debtor’s Attorney
Wayne B Spivak
500 Winderley Place, Unit 100
Maitland, FL 32751

Trustee
Arvind Mahendru
5703 Red Bug Lake Road, Suite 284
Winter Springs, FL 32708

                                             By: /s/ Christopher P. Salamone, Esq.
                                             Christopher P. Salamone, Esquire
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